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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION



   BELINDA PETERSON,

         Plaintiff,

   v.                                                   CASE NO. 8:18-cv-235-T-23AAS

   MERRICK BANK CORPORATION,

         Defendant.
   ____________________________________/


                                          ORDER

         The plaintiff announces (Doc. 13) the settlement of this action. Under Local

   Rule 3.08(b), this action is DISMISSED subject to the right of any party within sixty

   days (1) to submit a stipulated form of final judgment or dismissal or (2) to move to

   vacate the dismissal for good cause. The clerk is directed to close the case.

         ORDERED in Tampa, Florida, on March 20, 2018.
